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                                     ID #792



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

BRANDON SCOTT KEENA,

Defendant.                                                  No. 07-30136-DRH

                                     ORDER

HERNDON, Chief Judge:

             Before the Court is Defendant Keena’s first motion to continue the

sentence set for September 4, 2009 (Doc. 293).          Defendant requests that the

sentencing hearing currently scheduled for September 4, 2009, be continued for sixty

(60) days so that Defendant’s counsel can conduct a probation interview and have

time to file any objections to the presentence report. The Government does not

object to the continuance. Therefore, the Court GRANTS Defendant’s motion to

continue sentence set for September 4, 2009 and CONTINUES the sentencing

hearing until November 6, 2009 at 9:30 a.m.

             IT IS SO ORDERED.

             Signed this 24th day of June, 2009.



                                             /s/      DavidRHer|do|
                                             Chief Judge
                                             United States District Court
